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May 12, 2022
Via ECF
Hon. Paul G. Gardephe
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re: Barbara Ann Hartke v. Bonham & Butterfield’s, The Catholic University of America,
1:22-cv-03571

Dear Judge Gardephe,

We represent Defendant The Catholic University of America (“the University”) in connection with
the action recently filed by Plaintiff Barbara Ann Hartke (“Plaintiff”), Case No. 1:22-cv-03571.

Plaintiff is a relative of Father Gilbert V. Hartke, O.P., a former professor of drama and Roman
Catholic (Dominican) priest who was employed at the University (See Dkt. 1; Complaint ¶ 9).
Father Hartke, who passed away in 1986, founded the University’s drama department in 1937 and
chaired it until his retirement in 1974. Plaintiff alleges the estate of Father Hartke owns a dress
(the “Dress”) used by Judy Garland in the “Wizard of Oz,” which is scheduled to be sold at auction
on May 24, 2022. (See Complaint ¶¶ 7-8, 10). The Complaint references and incorporates an
advertisement for the auction of the Dress on co-defendant Bonham’s & Butterfield’s Auctioneers
Corporation (“Bonham’s) website.1 (Complaint ¶ 7). According to the allegations, Mercedes
McCambridge gave the Dress to Father Hartke “publicly” in 1973. (Complaint ¶ 8).

We write to request an opportunity to oppose Plaintiff’s request for a temporary restraining order
before the Court decides how to address the proposed order, and for permission to file a brief in
opposition and any supporting materials on or before May 18, 2022. Despite Plaintiff failing to
provide notice to Defendants of her request for a TRO, the University seeks the Court’s
intervention in advance of the May 24 auction. The University seeks to proffer conclusive

1
  https://www.bonhams.com/auction/27564/lot/115/an-important-costume-worn-by-judy-garland-as-dorothy-in-the-
wizard-of-oz/.
                  Atlanta | Austin | Boston | Brussels | Chicago | Cincinnati | Dallas | Hartford | Houston | London | Los Angeles
              Miami | New Orleans | New York | Newark | Providence | San Francisco | Stamford | Washington DC | West Palm Beach
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evidence that Plaintiff’s allegations and her request for a TRO are completely without merit or
evidentiary support, irresponsibly harming the University’s reputation and its students and
improperly placing a cloud on title while the Dress proceeds to auction.

Despite Plaintiff’s supposed urgency to stop the auction, Plaintiff filed a Complaint on May 3,
2022 (“Complaint”) (Dkt. 1), filed a motion for a preliminary injunction and TRO (“Motion”)
three days later, on May 6 (Dkt. 7), and then filed a defective application for Summons on May
10. As of May 12, 2022, Plaintiff has yet to serve Defendants with her Complaint, or officially
notify Defendants of her request for a TRO, in contradiction of Federal Rule of Civil
Procedure 65(b)(2).

The University became aware of Plaintiff’s actions because of media coverage, including
Plaintiff’s own interview with the press.2 Due to Plaintiff’s eleventh-hour action, and delays
caused by deficient filings (See Dkt. 3, 9, 10), Plaintiff has left the University only days to rebut
the false statements and conclusory allegations in the Complaint or in the Motion. Moreover, by
asserting these unsupported allegations and speaking to the press, Plaintiff prejudiced the
Defendant’s ability to sell the Dress, despite months of effort to bring the item to auction in support
of the University’s drama students.

As will be outlined in Defendants’ opposition to Plaintiff’s request for a TRO, there is no basis in
law to grant Plaintiff any interim (or other) relief. Plaintiff has no Article III standing to sue
because she has no property right in the Dress. Probate proceedings in 1987 recognized Father
Hartke’s vow of poverty as a Dominican priest, including a vow to never accept gifts in his
personal capacity. In addition, Plaintiff’s Complaint is predicated on pure speculation – without
any supporting evidence – when she alleges that in 1973 Mercedes McCambridge (who is
deceased) intended to gift the Dress to Father Hartke in his personal capacity and that he so
accepted. (Complaint ¶ 10).3 These allegations are simply not true. For example, it was reported
in a contemporaneous news article in 1973 that “McCambridge credited Father Hartke with
helping her through some difficulties with alcoholism and gave the costume to him and the
University to benefit the Drama Department.”4

Further, Plaintiff cannot allege that the Dress was part of the Father Hartke estate because: (1) the
University has an unrebutted presumption of ownership through possession of the Dress for nearly
50 years; (2) Father Hartke’s estate in 1987 did not list any personal or real property, nor tangible
assets of any value, despite widespread knowledge of the Dress at the time; (3) probate proceedings
in 1987 recognized Father Hartke’s vow of poverty as a Dominican priest, including a vow to
never accept gifts in his personal capacity (this vow has been upheld by courts, including the U.S.
2
  https://nypost.com/2022/05/07/battle-looms-over-1-5m-wizard-of-oz-dress-found-in-storage-closet/.
3
  Plaintiff states quite publicly that she has no idea who owns the dress. Plaintiff is quoted as saying: “I just want to
know who has ownership over this … I’d like to see the documentation.” (See https://nypost.com/2022/05/07/battle-
looms-over-1-5m-wizard-of-oz-dress-found-in-storage-closet/.)
4
  https://www.bonhams.com/auction/27564/lot/115/an-important-costume-worn-by-judy-garland-as-dorothy-in-the-
wizard-of-oz/ (paraphrasing a 1973 Tower article, available at
https://cuislandora.wrlc.org/islandora/object/tower%3A11991#page/1/mode/1up, at pages 1,7).
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Supreme Court, dating back to at least 1914) (see Order of St. Benedict v. Steinhauser, 234 U.S.
640 (1914)); (4) Father Hartke’s consistent conduct as he never took the Dress home, leaving the
Dress with the University after retirement in or around 1974, at least 12 years before his death in
1986; and (5) witnesses, including a descendant of one of Father Hartke’s siblings, have come
forward confirming that the Dress was never part of Father Hartke’s estate and was always owned
by the University.

Plaintiff’s request for TRO is unwarranted. Notwithstanding Plaintiff’s failure to comply with
Rule 65(b)(2), Plaintiff respectfully requests the opportunity to object to any interim relief
requested by Plaintiff and to permit the auction scheduled for May 24, 2022, to proceed. We
appreciate the Court’s attention to this matter and are available at the Court’s convenience to
discuss this request.

                                             Respectfully submitted,

                                                     /s/ Shawn A. Brenhouse

                                                     Shawn A. Brenhouse
                                                     Amin Al-Sarraf (pro hac vice forthcoming)
                                                     LOCKE LORD LLP
Cc: All counsel (by ECF)
